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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                       Plaintiff,                  )       8:02CR245
                                                   )
                       vs.                         )       ORDER TO DESTROY
                                                   )       OR OTHERWISE DISPOSE
TRISTAN C. CARTER,                                 )       OF RETURNED EXHIBITS
ANGEL S. ARROYO, and                               )
RAY SNOVER,                                        )
                                                   )
                       Defendants.                 )

       This matter comes before the Court upon the United States’ Motion to Destroy or

Otherwise Dispose of Returned Exhibits (Filing No. 129). The exhibits are currently in the

possession of the Plaintiff.

       Having received no objection from counsel for the Defendant, the Court, for good cause

shown, grants the United States’ Motion.

       IT IS SO ORDERED this 7th day of October, 2005.

                                                   BY THE COURT:



                                                   s/Joseph F. Bataillon
                                                   JOSEPH F. BATAILLON
                                                   Chief Judge, United States District Court
